Case 1:18-cv-01013-MAD-DJS Document 3 Filed 08/23/18 Page 1 of 9




                                               1:18-cv-1013 (MAD/DJS)
Case 1:18-cv-01013-MAD-DJS Document 3 Filed 08/23/18 Page 2 of 9
Case 1:18-cv-01013-MAD-DJS Document 3 Filed 08/23/18 Page 3 of 9
Case 1:18-cv-01013-MAD-DJS Document 3 Filed 08/23/18 Page 4 of 9
Case 1:18-cv-01013-MAD-DJS Document 3 Filed 08/23/18 Page 5 of 9
Case 1:18-cv-01013-MAD-DJS Document 3 Filed 08/23/18 Page 6 of 9
Case 1:18-cv-01013-MAD-DJS Document 3 Filed 08/23/18 Page 7 of 9
Case 1:18-cv-01013-MAD-DJS Document 3 Filed 08/23/18 Page 8 of 9
Case 1:18-cv-01013-MAD-DJS Document 3 Filed 08/23/18 Page 9 of 9
